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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


JANNAT DENISE BRITO and JOSE
ROSARIO JIMENEZ, individually and on                 Civ. No. 2:22-cv-01348-JMV-AME
behalf of all others similarly situated,

                                  Plaintiff,
       v.


SAMSUNG ELECTRONICS AMERICA, INC.,
and SAMSUNG ELECTRONICS CO., LTD.,

                                  Defendants.


             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                        PURSUANT TO RULE 41(a)(1)(A)(i)


       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs voluntarily dismiss their claims
against Defendants Samsung Electronics America, Inc. and Samsung Electronics Co., Ltd. without
prejudice. Neither an answer to the complaint nor a motion for summary judgment has been
served. A class has not been certified.


                                                     Respectfully submitted,
Dated: July 8, 2022
                                                     SEEGER WEISS LLP

                                               By:   /s/ Christopher A. Seeger
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on July 8, 2022, I caused the forgoing Notice of Voluntary Dismissal

to be filed with the Clerk of the Court using the CM/ECF system, which will send a notification to all

counsel of record.



                                                /s/ Christopher A. Seeger
                                                CHRISTOPHER A. SEEGER




Dated: July 8, 2022
